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                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

UMG RECORDINGS, INC., et al.,          )
                                       )
            Plaintiffs,                )
                                       )
vs.                                    )
                                       )
GRANDE COMMUNICATIONS                      No. 1:17-cv-00365
                                       )
NETWORKS LLC,                          )
                                       )
            Defendant.
                                       )
                                       )
                                       )

         DEFENDANT GRANDE COMMUNICATION NETWORKS LLC’S
           OPPOSED MOTION TO COMPEL THE PRODUCTION OF
            DOCUMENTS AND INFORMATION FROM PLAINTIFFS
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                                       INTRODUCTION

       This is an action for secondary copyright infringement brought by Plaintiffs, certain

record labels, against Defendant Grande Communications Networks LLC, a Texas Internet

service provider (“ISP”). In this case, Plaintiffs seek to hold Grande liable for copyright

infringement allegedly committed by Grande’s subscribers. Plaintiffs’ claims are based on email

notices to Grande of alleged infringement sent by Plaintiffs’ agent, Rightscorp, Inc., which

claims to have a system for monitoring online file-sharing activity.

       The instant Motion concerns Plaintiffs’ numerous deficient responses to certain requests

for production and interrogatories. Grande first served discovery requests on Plaintiffs in late

September 2017, but until mid-April 2018, Plaintiffs did not produce any documents other than

notices of alleged copyright infringement from Rightscorp to Grande—which Plaintiffs assert

were already in Grande’s possession—and copyright registrations. After months and months of

subsequent efforts by Grande to cajole a comprehensive document production from Plaintiffs,

Plaintiffs’ production remains woefully incomplete.

       Plaintiffs still refuse to produce any documents responsive to numerous requests that seek

relevant documents and are reasonably tailored to the issues in this case. Plaintiffs have

unilaterally narrowed the scope of many other requests, seemingly in order to avoid producing

responsive, relevant documents. Plaintiffs also refuse to produce emails in accordance with the

parties’ agreed-upon procedures for conducting e-discovery, and refuse to answer interrogatories

seeking basic, fundamental information regarding the basis of Plaintiffs’ copyright infringement

claims and their claimed damages. As a result, Grande has been forced to seek relief from this

Court in order to obtain full and complete discovery from Plaintiffs.

       As set forth in the attached Brophy Declaration, Grande has conferred in good faith with




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Plaintiffs in an effort to resolve the matters addressed herein, including in a comprehensive meet

and confer teleconference on July 5, 2018, but the parties were unable to come to an agreement

on these issues. See Ex. A, ¶ 5. Accordingly, Grande respectfully requests an order from the

Court granting this Motion and compelling Plaintiffs to produce the documents and information

at issue.1

                                          ARGUMENT

I.      PLAINTIFFS IMPROPERLY REFUSE TO PRODUCE DOCUMENTS IN
        RESPONSE TO A SIGNIFICANT NUMBER OF GRANDE’S REQUESTS

        In response to a significant number of Grande’s discovery requests, Plaintiff served

blanket, boilerplate objections under which Plaintiffs refused to produce any responsive

documents. See, e.g., Ex. 12 (Warner’s Obj. & Resp. to 1st Set of RFP) at RFP 15, 16, 34, 38;

Ex. 4 (Warner’s Obj. & Resp. to 2nd Set of RFP) at RFP 46, 49, 59, 63.3 Contrary to Plaintiffs’

objections, each of Grande’s requests seeks documents that are directly relevant in this case.

        Due to the number of requests for which Plaintiffs are refusing to produce materials—and

in an effort to avoid lengthy briefing—Grande has compressed its argument into the table set

forth below. This table includes a brief description of each request and of the issues in the case

to which the discovery is relevant.



1 The discovery responses at issue are attached to this Motion. The numerous Plaintiffs are
organized in three groups by parent company—Warner, Universal, and Sony. Grande therefore
served written discovery to each of these three groups, and each group of Plaintiffs served
essentially identical responses. See Exs. 1-3 (Plfs.’ Obj. & Resp. to 1st Set of RFP), 4-6 (Plfs.’
Obj. & Resp. to 2nd Set of RFP), 7-9 (Plfs.’ Obj. & Resp. to 2nd Set of Interrogs.). Accordingly,
in the discussion below of Plaintiffs’ insufficient responses, Grande refers to one representative
discovery response.
2 References to numbered exhibits refer to the exhibits to the Brophy Declaration, with the
exception of Exhibits 7-9, which are the subject of a contemporaneously-filed Motion for Leave
to File under Seal.
3 The cited discovery responses are representative of all of Plaintiffs’ responses. See supra n.1.


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RFP #       TOPIC SUMMARY                       BASIS FOR GRANDE’S REQUEST
                                         Plaintiffs’ agent Rightscorp served a letter on
                                         Grande claiming that infringement occurring on its
                                         network costs Grande money. See Ex. 13 (“It is
                                         costing Grande Communications a lot of capital
        Documents reflecting losses      expenditures to service all of the infringement
        Plaintiffs claim ISPs incur as a occurring on your network.”). Grande should be
 15
        result of infringement on their permitted discovery on this issue at least because
        networks (Ex. 1 at 9-10)         Plaintiffs assert that Grande was motivated to allow
                                         infringement on its network due to its interest in
                                         increasing profits. See Compl. at ¶¶ 6, 57-59.
                                         Relevant at least to: Liability and Statutory
                                         Damages
                                         This request is related to RFP 15 above and
                                         properly seeks documents reflecting the burdens
        Documents reflecting negative that copyright infringement places on ISP networks.
        effects of infringement on ISP Plaintiffs assert that Grande actively marketed to
 16     networks such as reduced         infringers to make money, and Grande should be
        bandwidth or increased costs     permitted to discover evidence rebutting that
        (Ex. 1 at 10)                    assertion.
                                         Relevant at least to: Liability and Statutory
                                         Damages
                                         Grande should be permitted discovery on this issue
                                         at least because (1) Plaintiffs intend to seek
        Documents evidencing             damages beyond the statutory damages period by
        Plaintiffs’ ability to detect    arguing that they were unaware infringement was
        infringement on ISP networks taking place, and (2) Plaintiffs intend to argue that
 34
        and Plaintiffs’ knowledge of     they are capable of detecting and reporting actual
        such infringement (Ex. 1 at      infringement occurring on ISP networks. See, e.g.,
        20)                              Compl. at ¶ 43 (ECF No. 1).
                                         Relevant at least to: Plaintiffs’ Discovery Rule
                                         Argument and Liability
                                         Plaintiffs must prove direct infringement by
                                         subscribers as part of its case against Grande. Yet,
                                         Plaintiffs refuse to produce documents regarding
        Documents regarding              difficulties they experienced in establishing those
        enforcement of claims against claims. Moreover, valuations of claims against
        individual infringers, the       individual infringers—or the cost/benefit analysis of
 38
        difficulties of such claims, and moving forward with those claims—bears on the
        the decisions not to bring such question of damages. Grande offered to narrow this
        claims (Ex. 1 at 22)             request to claims involving the same peer-to-peer
                                         infringement alleged in this case, but Plaintiffs still
                                         refused to produce any documents.
                                         Relevant at least to: Liability and Statutory


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                                         Damages
                                         A key issue in this case is the accuracy of the
                                         “infringement” notices that Grande received.
                                         Directly related to this issue is the problem of faked
                                         or “spoofed” copyright infringement notices—a
       Documents relating to             well-known problem in the industry. See, e.g., Ex.
       “spoofed” DMCA                    14 (C. Hassan, “Thousands of Fraudulent Copyright
46
       infringement notices (Ex. 4 at    Infringement Demands Are Being Emailed …”,
       3-4)                              Digital Music News, June 24, 2016). Grande
                                         should be able to discover evidence in Plaintiffs’
                                         possession relating to this issue.
                                         Relevant at least to: Liability and Statutory
                                         Damages
                                         Because Plaintiffs are relying exclusively on notices
                                         of alleged infringement generated by Rightscorp as
                                         evidence of liability, Grande should be permitted to
                                         explore the financial relationship between
       Documents relating to             Rightscorp and Plaintiffs relating to these notices.
49     payments by Rightscorp to         This issue also bears directly on damages and the
       Plaintiffs (Ex. 4 at 5-6)         avoidance of double recovery, to the extent
                                         Rightscorp extracted settlements from Grande
                                         subscribers.
                                         Relevant at least to: Liability, Actual Damages, and
                                         Statutory Damages
                                         Grande should be permitted to explore the legal
                                         relationship between Rightscorp and Plaintiffs
                                         through any proposed or executed agreements. This
                                         includes any email or other communications related
       Documents relating to             to those agreements. Plaintiffs’ vague reference to
       agreements between                Rightscorp’s production—which Plaintiffs
59
       Rightscorp and Plaintiffs (Ex.    subsequently admitted does not include the
       4 at 11-12)                       referenced agreement—does not address related
                                         materials and communications and fails to
                                         constitute a production of Plaintiffs’ documents.
                                         Relevant at least to: Liability, Actual Damages, and
                                         Statutory Damages
                                         Grande should be permitted to explore what efforts
                                         (if any) Plaintiffs have undertaken to prevent the
       Documents reflecting efforts
                                         infringement for which they now seek to recover
       by Plaintiffs to combat
                                         from Grande. This discovery relates, at a minimum,
63     copyright infringement
                                         to Plaintiffs’ allegation that it is possible to reduce
       through BitTorrent (Ex. 4 at
                                         or stop copyright infringement from taking place
       14)
                                         over the Internet.
                                         Relevant at least to: Actual and Statutory Damages

     These requests are plainly directed to discoverable subject matter, yet Plaintiffs refuse to


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produce any documents responsive to these requests. The Court should therefore order Plaintiffs

to remedy this failure and produce the requested documents.

II.     PLAINTIFFS HAVE UNILATERALLY MODIFIED CERTAIN REQUESTS AND
        REFUSE TO PRODUCE DOCUMENTS RESPONSIVE TO THE FULL SCOPE
        OF GRANDE’S REQUESTS FOR PRODUCTION

        In their response to numerous other requests from Grande, Plaintiffs have engaged in

unacceptable sleight-of-hand responses which rewrite Grande’s requests without permission or

agreement from Grande. See Ex. 1 (Warner’s Obj. & Resp. to 1st Set of RFP) at RFP 18, 19, 21,

22, 23, 24, 25, 31; Ex. 4 (Warner’s Obj. & Resp. to 2nd Set of RFP) at RFP 44, 47, 48, 55, 58,

61.4 Plaintiffs’ refusal to produce responsive documents and to instead reimagine those requests

to change their scope is improper.

RFP #        TOPIC SUMMARY                                   RELEVANCY
                                         An important issue in this case is the legitimacy of
                                         Rightscorp’s notices and the ability of an ISP to
                                         meaningfully process and act on those notices.
                                         Grande’s requests seek information regarding how
                                         ISPs react to Rightscorp’s infringement notices.
                                         Plaintiffs rewrote the discovery request to limit
                                         production to communications with Grande and to
          Documents relating to
                                         exclude communications with all other ISPs. Such
          communications from ISPs
  18                                     other communications may contain relevant
          in response to Rightcorp
                                         information about the inadequacy of the Rightscorp
          notices (Ex. 1 at 11)
                                         notices, demonstrate the reasonableness of Grande’s
                                         response relative to its peers, and/or address
                                         Rightscorp’s ability to provide information that
                                         would allow ISPs to meaningfully evaluate
                                         allegations of infringement.
                                         Relevant at least to: Liability and Statutory
                                         Damages
                                         Grande should be permitted to understand the nature
          Documents relating to
                                         of the business relationship between Plaintiffs and
          communications between
  19                                     Rightscorp. Yet, Plaintiffs’ objections reword the
          Plaintiffs and Rightscorp
                                         request to indicate they will only produce
          (Ex. 1 at 11-12)
                                         communications between Plaintiffs and Rightscorp



4 The cited discovery responses are representative of all of Plaintiffs’ responses. See supra n.1.


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                                   about Grande subscribers. This excludes other
                                   relevant communications between Plaintiffs and
                                   Rightscorp such as: the relationship and agreements
                                   between them, the nature of and problems with the
                                   Rightscorp system, difficulties in determining
                                   ownership of the copyrights at issue, payments
                                   made pursuant to copyright notices, and the
                                   complaints and defects inherent in the Rightscorp
                                   notices.
                                   Relevant at least to: Liability and Actual and
                                   Statutory Damages
                                   Grande seeks all documents regarding the operation
                                   of the Rightscorp system. This includes its use, its
                                   development, and flaws in its methodology or
                                   operation. Plaintiffs’ objections improperly limit
     Documents regarding the
                                   their production to documents regarding the
21   Rightscorp System (Ex. 1 at
                                   Rightscorp System “as it relates to this lawsuit.”
     12-13)
                                   Plaintiffs should be required to produce all
                                   responsive documents regarding the Rightscorp
                                   system.
                                   Relevant at least to: Liability
                                   Plaintiffs allege that the Rightscorp system is
                                   capable of “identifying actual infringements and the
                                   perpetrators of those infringements.” Compl. at ¶
                                   43 (ECF No. 1). Grande seeks documents relating
     Documents regarding ¶ 43
                                   to that disputed allegation. Plaintiffs’ objections
     of the Complaint—
                                   state that they will only produce documents
22   Rightscorp’s ability to
                                   regarding the systems operation “as it relates to this
     detect actual infringement
                                   lawsuit” (same as RFP 21). This artificial limitation
     (Ex. 1 at 13)
                                   may exclude other materials reflecting its inability
                                   to detect actual infringement.
                                   Relevant at least to: Liability and Actual and
                                   Statutory Damages
                                   Grande should be permitted to discover evidence
                                   relating to whether Rightscorp’s system has the
                                   capability to acquire entire files from host
     Documents regarding ¶ 43      computers. Yet, Plaintiffs provided the same
     of the Complaint—             improper limitation on the production of Rightscorp
     Rightscorp’s ability to       System documents as its response to RFP No. 21.
23
     acquire entire files from     Producing materials describing the operation of the
     infringing host computers     system is not the same as producing the broader set
     (Ex. 1 at 13-14)              of materials that may reveal flaws in the system’s
                                   capabilities.
                                   Relevant at least to: Liability and Actual and
                                   Statutory Damages
24   Documents relating to flaws   As with RFP 21, Plaintiffs have improperly limited


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     in or modifications to the     their response to documents concerning Grande.
     Rightscorp system (Ex. 1 at    Plaintiffs improperly refuse to produce all
     14-15)                         documents relating to errors, performance issues,
                                    etc. in the Rightscorp system.
                                    Relevant at least to: Liability
                                    As with RFP 21, Plaintiffs have improperly limited
     Documents relating to
                                    their response to documents concerning notices sent
     inaccurate Rightscorp
25                                  to Grande. All documents reflecting errors in
     notices sent to Grande or
                                    Rightscorp’s notices are relevant in this case.
     other ISPs (Ex. 1 at 15)
                                    Relevant at least to: Liability
31   Documents regarding ¶ 34       Plaintiffs refuse to produce documents regarding
     of the Complaint—              licensing and royalties they receive for the asserted
     licensing of Plaintiffs’       works. Instead, Plaintiffs improperly and vaguely
     alleged copyrighted sound      offer to produce documents they “may” rely on to
     recordings (Ex. 1 at 18-19)    support an “actual damages” claim. Grande is
                                    entitled to obtain discovery regarding license
                                    agreements and royalty rates pertaining to the
                                    copyrights at issue because this information is
                                    directly relevant to damages.
                                    Relevant at least to: Actual and Statutory Damages
44   Documents relating to          Plaintiffs’ response is limited to documents
     Rightscorp’s failure to        “reflecting” (rather than “relating to”) Rightscorp’s
     digitally sign its             decision not to digitally sign its notices and is
     infringement notices to ISPs   further limited to those “notices transmitted to
     (Ex. 4 at 2)                   Grande” (rather than to ISPs generally, as Grande
                                    requested). Grande should be permitted to discover
                                    all documents bearing on Rightscorp’s refusal to
                                    digitally sign its notices of alleged infringement.
                                    Relevant at least to: Liability and Actual and
                                    Statutory Damages
47   Documents relating to ISPs     Plaintiffs improperly refuse to produce documents
     who refused to process         concerning other ISPs that have refused to process
     Rightscorp infringement        Rightscorp’s notices. These documents are directly
     notices (Ex. 4 at 4)           relevant at least to uncovering any flaws or
                                    shortcomings of the Rightscorp system/notices.
                                    Relevant at least to: Liability and Actual and
                                    Statutory Damages
48   Documents regarding other      Plaintiffs refuse to produce documents relating to
     infringement monitoring        other systems for monitoring and notifying ISPs of
     and notification systems       alleged peer-to-peer copyright infringement.
     (Ex. 4 at 4-5)                 Documents regarding other notification systems are
                                    relevant to whether the Rightscorp’s methods are
                                    reasonable and technically sound, and may bear on
                                    Plaintiffs’ knowledge of flaws in the Rightscorp
                                    system relative to third-party
                                    monitoring/notification systems.


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                                         Relevant at least to: Liability
  55     Documents relating to how       Plaintiffs refuse to produce documents regarding
         ISPs should respond to          how ISPs in general should respond to Rightscorp
         Rightscorp notices (Ex. 4 at    notices. Documents not speaking directly to
         9)                              Grande, but bearing on the issue of how an ISP
                                         should comply with infringement notices, are
                                         directly relevant to the case, including whether
                                         Grande’s conduct was “reasonable” under the
                                         DMCA safe harbor. Grande offered to narrow this
                                         request to notices regarding infringement from peer-
                                         to-peer networks (like BitTorrent), but Plaintiffs
                                         still refused to agree to produce documents.
                                         Relevant at least to: Liability and Actual and
                                         Statutory Damages
  58     Documents reflecting how        Plaintiffs agree to produce any documents regarding
         ISPs can verify whether         how Grande should verify information found in
         Rightscorp notices identify     Rightscorp notices, but they refuse to produce
         actual instances of direct      similar documents that do not specifically name
         copyright infringement (Ex.     Grande. Plaintiffs should be required to produce all
         4 at 11)                        documents that address how/whether an ISP can
                                         verify the information contained in Rightscorp’s
                                         notices.
                                         Relevant at least to: Liability and Actual and
                                         Statutory Damages
  61     Documents relating to           Plaintiffs agreed to produce communications
         communications between          between Rightscorp and Grande, but they refuse to
         Rightscorp and any ISP          produce similar communications between
         (excluding routine              Rightscorp and third-party ISPs. These documents
         infringement notices) (Ex. 4    are plainly relevant because they may evidence
         at 12-13)                       flaws in the Rightscorp system and/or may
                                         demonstrate that Rightscorp provided third parties
                                         with information that it failed to provide to Grande.
                                         Relevant at least to: Liability and Actual and
                                         Statutory Damages

       In sum, these requests are directed to relevant, discoverable subject matter. Plaintiffs’

improper objections should be overruled, and they should be ordered to produce documents

responsive to the full scope of Grande’s requests.

III.   THE COURT SHOULD ORDER PLAINTIFFS TO COMPLETE THEIR EMAIL
       PRODUCTION

       As the Court is aware, when conducting email discovery, it is customary for parties in




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complex cases to agree to forego traditional requests for production, in favor of exchanging sets

of custodians and search terms for collecting and producing responsive emails. There is a quid-

pro-quo inherent in this approach—the parties agree to forego a more exhaustive search of the

other party’s relevant emails, in exchange for the ability to obtain all non-privileged documents

from the identified custodians that are responsive to its search terms.

       This is what the parties agreed to do in this case. Ex. A (Brophy Decl.), ¶ 6. Plaintiffs

provided a list of custodians and search terms, which Grande used for searching and producing

emails. Id. at ¶ 7. Pursuant to the parties’ agreement, the only filtering Grande performed—

besides application of the search terms—was to remove privileged and work product materials.

Id. Using Plaintiffs’ search terms, Grande produced over two million pages of email. Id.

       When it came to Plaintiffs’ email production, however, Plaintiffs refused to abide by the

parties’ agreement. For Plaintiffs’ email production, Grande supplied a list of custodians to

Plaintiffs and proposed a set of search terms that was nearly identical to those used for Grande’s

email production. Id., ¶ 8. Incredibly, Plaintiffs objected to use of those search terms. Id., ¶ 9.

As a result, Plaintiffs forced Grande to devote a huge amount of time and effort to negotiating

what search terms Plaintiffs would use in collecting and producing emails. Id. In an effort to

avoid bringing unnecessary disputes to the Court, Grande ultimately agreed to significantly

narrow the scope of the search terms to be applied to Plaintiffs’ email production. Id.

       Nevertheless, after the parties came to agreement on Grande’s search terms, Plaintiffs

still refused to produce all responsive, non-privileged emails. Id., ¶ 10. After Plaintiffs ran the

agreed-upon search terms, they conducted what they described as a second “relevance”

screening. Id. Through this screening process, Plaintiffs made unilateral and subjective

determinations regarding the relevance of responsive emails and excluded from production




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emails that were otherwise responsive to Grande’s search terms. Id. Plaintiffs finally completed

their email production on June 7, 2018. Ex. A (Brophy Declaration), ¶ 11.

       Grande respectfully submits that Plaintiffs’ post-search “relevance” screening is an

improper attempt to frustrate the custodial search protocol the parties agreed to use as a

replacement for the more traditional (and exhaustive) methods of conducting discovery.

Plaintiffs’ approach undermines the quid-pro-quo inherent in the use of search terms for e-

discovery and unfairly biases the discovery process in their favor. Plaintiffs used the custodial

search process to avoid conducting an exhaustive search of their emails for responsiveness, while

retaining the ability to cull the set of responsive materials by plucking from that production any

documents they subjectively determine are “not relevant.” This is improper.

       Accordingly, Grande requests an order from the Court requiring Plaintiffs to produce all

non-privileged emails responsive to the parties’ agreed search terms.

IV.    THE COURT SHOULD ORDER PLAINTIFFS TO FULLY ANSWER GRANDE’S
       INTERROGATORIES 13 AND 19

       Interrogatory No. 13 requests that Plaintiffs identify the specific facts supporting their

claims for secondary copyright infringement against Grande. This includes identification of the

specific work infringed, the owner of the work, the Grande subscriber or IP address responsible

for committing direct infringement, the specific act that constitutes the direct infringement, and

the information provided to Grande that put it on notice that the infringement would occur. Ex. 7

(Warner’s Obj. & Resp. to 2nd Interrogs.) at 1.5

       Plaintiffs responded to this Interrogatory by referencing huge swaths of their document




5 The cited discovery responses are representative of all of Plaintiffs’ responses. See supra n.1.
Exhibits 7-9, which reflect the interrogatory answers at issue, are the subject of a
contemporaneously-filed Motion for Leave to File under Seal.


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production, including a collection of over 1.3 million pages of Rightscorp email notices. See id.

at 2-5. If Plaintiffs were pursuing a copyright infringement claim based on a single asserted

copyright, Plaintiffs would plainly be required to provide a detailed response to this

Interrogatory. Plaintiffs’ decision to assert numerous copyrights—thereby enabling Plaintiffs to

seek damages associated with each such copyright—does not relieve them of this basic discovery

obligation. Indeed, Plaintiffs did not object to this Interrogatory as unduly burdensome or

overbroad, and accordingly they should be required to answer it fully. See id. at 2. There is no

question that the requested information is relevant.

       Moreover, Plaintiffs’ attempted reliance on Fed. R. Civ. P. 33(d) is improper. “[T]he

burden of deriving or ascertaining the answer” from the enormous collection of identified

documents is not “substantially the same for either party.” This interrogatory seeks information

at the core of Plaintiffs’ infringement claims, which Plaintiffs must have already analyzed as a

Rule 11 prerequisite to filing this lawsuit.

       Nevertheless, Plaintiffs objected to fully answering the Interrogatory on grounds that it

would require Plaintiffs to “marshal all of their evidence in support of their case, even while

discovery is ongoing.” Id. at 2. Now that the parties are nearing the end of fact discovery,

however, this is no longer a valid objection—if it ever was. The Court should therefore order

Plaintiffs to fully respond to this request for basic and critically relevant information.

       Interrogatory No. 19 requests that Plaintiffs identify the total number of alleged

instances of infringement for which they are seeking to recover damages, and for each to identify

the evidence they will rely on to support a claim for actual or statutory damages. Plaintiffs

refused to substantively answer this Interrogatory. Id. at 13-14.

       Instead, Plaintiffs again merely referred Grande to the 1.3 million Rightscorp notices




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produced in this litigation and then vaguely suggested that they will rely on Grande’s revenues

and profits, the valuation of Grande’s business, and the amount of Grande’s profits from the

infringing activity to prove damages. See id. This answer is plainly insufficient. As with

Interrogatory No. 13, Plaintiffs did not and could not claim that this Interrogatory is overly broad

or unduly burdensome. See id. It is also improper for Plaintiffs to rely on Rule 33(d) because

Grande is seeking Plaintiffs’ position on the number and nature of instances of copyright

infringement for which they are seeking damages. The Court should therefore order Plaintiffs to

fully answer Interrogatory No. 19.

                                         CONCLUSION

       For the foregoing reasons, Grande respectfully request that the Court grant this Motion to

Compel and order any other relief the Court deems just and proper.



Dated: July 6, 2018.


                                                     By: /s/ Richard L. Brophy
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                                CERTIFICATE OF SERVICE

       The undersigned certifies that on July 6, 2018, all counsel of record who are deemed to

have consented to electronic service are being served with a copy of this document via the

Court’s CM/ECF system pursuant to Local Rule CV-5(b)(1).



                                                    /s/ Richard L. Brophy
                                                    Richard L. Brophy




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